       CASE 0:12-cv-03109-DSD-JSM          Doc. 124       Filed 03/18/15   Page 1 of 1




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

                                             )
Denson International Limited,                )        Civil File No.: 12-CV-03109-DSD-JSM
                                             )
                                             )
                             Plaintiff,      )
vs.                                          )        MOTION FOR SUMMARY
                                             )        JUDGMENT
Liberty Diversified International, Inc.,     )
d/b/a Safco Products Company,                )
                                             )
                             Defendant.      )

TO:      Defendant Liberty Diversified International, Inc., d/b/a Safco Products Company,
         and its attorney, Meghan E. DesLauriers, Esq., Dorsey & Whitney LLP, 50 South
         Sixth Street, Suite 1500, Minneapolis, MN 55402
         Pursuant to Rule 56 of the Federal Rules of Civil Procedure and other applicable

law, Plaintiff Denson International Limited moves this Court to grant Plaintiff’s Motion

for Summary Judgment. Plaintiff’s motion will be brought based upon the pleadings, all

of the files, records, and proceedings herein, and Plaintiff’s Memorandum of Law and

supporting declarations, which will be served and filed pursuant to the applicable rules of

practice.

Date: March 18, 2015                             WINTHROP & WEINSTINE, P.A.

                                                 By       s/Tiffany A. Blofield
                                                      Craig S. Krummen #0259081
                                                      Tiffany A. Blofield #0237279
                                                      225 South Sixth Street, Suite 3500
                                                      Minneapolis, MN 55402
                                                      Tel (612)604-6400 | Fax (612)604-6800
                                                      ckrummen@winthrop.com
                                                      tblofield@winthrop.com

                                                 Attorneys for Plaintiff
                                                 Denson International Limited
10150783v1
